         Case 2:12-cv-00859-LMA Document 1218 Filed 01/11/19 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                 CIVIL ACTION

VERSUS                                                                     No. 12-859

MARLIN GUSMAN, ET AL.                                                     SECTION I


                                        ORDER

         Considering the United States of America’s motion 1 to stay the January 17 and

25, 2019 status conferences scheduled in the above-captioned matter,

         IT IS ORDERED that, in light of the Court’s order on this date cancelling the

January 17th status conference, the request as to the January 17th conference is

DISMISSED AS MOOT.

         IT IS FURTHER ORDERED that the request as to the January 25th status

conference is DENIED, reserving the United States’ right to re-urge the motion

closer to the January 25th conference.

         New Orleans, Louisiana, January 11, 2019.



                                         _______________________________________
                                                 LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1216.
